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         IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                               CENTRAL DIVISION

 TAYLOR HARPER,
                                                         REPLY IN SUPPORT OF MR.
                  Plaintiff,                           TVETER’S JURY INSTRUCTIONS

 v.

 MICHAEL TVETER,                                                CASE: 2:13-cv-00889
                                                                 Judge Ted Stewart
                  Defendant.


         Defendant, by and through counsel of record, files this brief Reply in Support of Mr.

Tveter’s Jury Instructions.

         I.      THE JURY SHOULD BE INSTRUCTED ON THE DUTY TO MAINTAIN
                 A PROPER LOOKOUT.

      Defendant’s jury instruction number 9 is the jury instruction on keeping a proper lookout.

“The law requires all drivers to keep a lookout for other vehicles.” Smith v. Angell, 830 P.2d

1163, 1166 (Idaho 1992); (citing Robinson v. Westover, 620 P.2d 1096, 1098 (Idaho

1980)(“Person operating motor vehicle has duty to keep proper lookout.”; Munson v. State, Dept.

of Highways, 531 P.2d 1174, 1176-1177 (Idaho 1975) (“[D]river of automobile is held to have

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notice of that which is plainly visible on highway before him.”); Drury v. Palmer, 375 P.2d 125,

128 (1962) (“It is not only the duty of the operator to look, but it is his duty to see and be

cognizant of that which is plainly visible or obviously apparent, and a failure on his part in this

regard, without proper justification or reason, makes him chargeable for failure to see what he

should have seen had he been in the exercise of reasonable care.”).) Idaho Code § 49-917

indicates that a bicycle rider “shall have all of the rights and duties applicable to the driver of any

other vehicle.” Thus, a bicycle on the roadway must follow the rules applicable to drivers,

including keeping a proper lookout.

   In Smith v. Angell, the court noted that it was a question for the jury as to whether the

plaintiff, who was on a motorcycle, was keeping a proper lookout so as to see a pickup truck

entering the highway in front of him. 830 P.2d 1163, 1167 (Idaho 1992). The Court noted that

the giving of a dead man’s presumption instruction was error and that a properly instructed jury

may well have allocated some negligence to the plaintiff “upon the circumstantial evidence that

he ‘is held to have notice of that which is plainly visible on the highway before him.’” 830 P.2d

1163, 1167 (citing Munson v. State, Dept. of Highways, 531 Pl.2d 1174, 1176-77 (1975)(noting

that repair site on highway was clearly visible from a considerable distance and refusing to find

that failure to erect yellow warning signs was an actual cause of plaintiff’s death where there was

no finding that the signs would have provided more notice of the blocked highway than did the

obvious blockage itself )).

   The statutes used in the Court’s jury instruction number 30 are traffic statutes and do not

discuss the above language, and do not adequately define what keeping a proper lookout is. The

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failure to keep a proper lookout is a separate and distinct concept and is one of the primary legal

theories put forth by the defendant. Idaho case law establishes that there is a duty to keep a

proper lookout. At a minimum, there should be some instruction to the jury as to proper lookout

and that a driver/bicycle on the roadway has the duty to maintain a proper lookout

       II.     DEFENDANT REQUESTS THE LIMITED PURPOSE INSTRUCTION BE
               SUBMITTED TO THE JURY.

   The plaintiff requested the limited purpose evidence instruction. Defendant objected on the

basis that there may not be evidence received for a limited purpose. Defendant now request that

the instruction be submitted and has no objection to plaintiff’s proposed Instruction No. 6. There

may be limited purpose evidence presented by Dr. Jubal Hamernik. The proposed instruction is:

                                    Limited purpose evidence

   Some evidence is received for a limited purpose only. When I instruct you that an item of

evidence has been received for a limited purpose, you must consider it only for that limited

purpose.

       III.    THE JURY SHOULD BE INSTRUCTED THAT MR. TVETER DID NOT
               VIOLATE IDAHO CODE § 49-913.

   The parties have agreed and the evidence has shown that the drip edge/ridge cap extended

two (2) feet (8) eight inches from the bed of Mr. Tveter’s truck. I.C. § 49-913 is clear and

unambiguous and this fact has been proven. This Court should therefore instruct the jury, as

outlined in Defendant’s Instruction No. 6, that for purposes of their deliberation Mr. Tveter did

not violate the statute. There has been no evidence or testimony to the contrary, and this is a

matter within the discretion of the Court.

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DATED this __1__ day of September, 2015.

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                                 CERTIFICATE OF E-FILING

       I hereby certify that on the 1st day of September, 2015, I served a true and correct copy of

the foregoing REPLY IN SUPPORT OF MR. TVETER’S JURY INSTRUCTIONS by

electronic filing to the following:

                                      Rachel Sykes
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                                                     /s/ Cambrie A. Marler
                                                     Cambrie A. Marler




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